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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :        Case No. 3:06cr00268 (PCD)
                                           :
HARRY JOHNSON                              :

                                ORDER TO SHOW CAUSE

       The Defendant, Harry Johnson, moves for Reconsideration of the Court’s Order denying

Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense in accordance with

18 USC 3582 [Doc. No. 1357].

       It is hereby ORDERED, that Counsel show cause on or before April 24, 2009, as to why

Defendant Harry Johnson’s Motion for Reconsideration [Doc. No. 1383] should not be granted.

       SO ORDERED.

                                               Dated at New Haven, Connecticut, April 6 , 2009.


                                                                  /s/
                                                            Peter C. Dorsey, U.S. District Judge
                                                                    United States District Court
